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          Exhibit A
      (Search Warrant)
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AO 93 (Rev. 11/13)Search and Seizure Warrant



                                           UNITED STATES DISTRICT COURT
                                                                             for the
                                                                     District of Nevada

                  In the Matter of the Search of
              (Briefly describe the property to be searched                                       3:20-mj-123-WGC
               or identify the person by name and address)                             Case No.
        The business and Federal Firearms Licensee ("FFL")
       known as POL YMER80, Inc. ("POLYMER80"), which is
           located at 134 Lakes Blvd, Dayton, NV 89403

                                                    SEARCH AND SEIZURE WARRANT
To:       Any authorized law enforcement officer
         An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the   ________                   District of                Nevada
(identify the person or describe the property to be searched and give its location):

      The business and Federal Firearms Licensee ("FFL")known as POLYMER80, Inc. ("POLYMER80"), which is located at 134
      Lakes Blvd, Dayton, NV 89403, as further described in Attachment A, attached hereto and incorporated herein by reference.




         I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
      See Attachment B, attached hereto and incorporated herein by reference.




          YOU ARE COMMANDED to execute this warrant on or before             ;)...1,                Uc 2
                                                                                                6 :2 CJ_(not to exceed 14 days)
 1i?   between the hours of 5 :00 a.m. to I 0:00 p.m. 0 at any time in the day or night because good cause has been established.
   "
        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the prope11y taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
prope11Ywas taken.
         The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                         WILLIAMG. COBB
                                                                                                     (United States Magistrate Judge)

     0 Pursuant to 18 U.S.C. § 3103a(b ), 1find that immediate notification may have an adverse result listed in 18 U .S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
prope11y, will be searched or seized (check the appropriate box)
     0 for         days (not to exceed 30) 0 until, the facts justifying, the later specific date of
                             <z3   C)5 C ~ :;l.6.2.()
Date and time issued:         ll : l S         0-    • J.,t, ·
                                                                                                             Judge's signature

City and state:             Reno, Nevada                                                      WILLIAMG. COBB, U.S. Magistrate Judge
                                                                                                           Printed name and title
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                                                               Return
Case No.:                           Date and time warrant executed:         Copy of warrant and inventory left with:

Inventory made in the presence of:

Inventory of the property taken and name of any person(s) seized:




                                                            Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                    Executingofficer'ssignature


                                                                                       Printed name and title
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                                                         ATTACHMENT          A

PREMISES TO BE SEARCHED

          The business               and     Federal             Firearms          Licensee              ("FFL")         known     as

POLYMER80, Inc.                     ("POLYMER80"),                which      is        located         at    134 Lakes

Blvd,      Dayton,          NV 89403              (the      "SUBJECT PREMISES").

          The SUBJECT PREMISES is                            a three         acre        plot       of      land

containing            a large            single          story     tan      and        gray      building,          located

on the          northwest           side     of Lakes             Blvd,      and        southeast            of    the     Dayton

Air      Park      airstrip.

          The area             to   be     searched          at    the      SUBJECT PREMISES includes

all      rooms,       trash         containers,              debris         boxes,            locked        containers           and

safes,          cabinets,           garages,             warehouses,              or    storage          containers           or

other      storage             locations           assigned            to   the        SUBJECT PREMISES.




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             Overhead   view   of        SUBJECT PREMISES




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                      SUBJECT PREMISES




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             Main Entrance   to        SUBJECT PREMISES




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                                                                 ATTACHMENTB

I.         ITEMS TO BE SEIZED:

           1.         The items                to      be     seized             are      evidence,                 contraband,

fruits,          or        instrumentalities                          of violations                      of        18 U.S.C.         §§

922 (a) (2)            (Shipment               or Transport                      of     a Firearm                 by a Federal

Firearms             Licensee                ("FFL")          to      a Non-FFL                in     Interstate               or    Foreign

Commerce);                 922 (b) (2)              (Sale        or     Delivery               of a Firearm                  in Violation

of    State          Law or Ordinance);                             922 (b) (3)               (Sale          or     Delivery         of     a

Firearm          by an FFL to                     Person           Not       Residing               in       the     FFL's      State);

922 (b) (5)            (Sale        or       Delivery              of      a Firearm                by an FFL Without

Notating             Required            Information                    in       Records);                922(d)        (Sale        or

Disposition                 of    a Firearm                 to     a Prohibited                     Person);            922(e)

(Delivery             of      a Package                Containing                 a Firearm                  to     a Common Carrier

Without          Written            Notice);                922(g)           (Possession                     of     a Firearm            by a

Prohibited              Person);               922(m)              (False         Records             by an FFL);               922(t)

(Knowing             Transfer            of       Firearm             without             a Background                  Check);           922(z)

(Sale,          Delivery,               or     Transfer               of     a Handgun                by an FFL Without                         a

Secure          Gun Storage                  or     Safety            Device);                371        (Conspiracy);               and        22

U.S.C.          §§    2278 (b) (2)                and       (c)       and        50 U.S.C.               §    4819      (Violations                  of

the       Arms Export               Control             Act        and       Export            Control              Regulations)

(collectively,                    the        "Subject              Offenses"),                  namely:

                      a.          "Buy,           Build,           Shoot"              kits     and          components             of    "Buy,

Build,          Shoot"           kits        compiled              or      arranged             in        close       proximity             to

one       another           indicating                 they        were          intended             to      be compiled                into

"Buy,       Build,            Shoot"           kits;

                      b.          Handguns              bearing              no serial                number;



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                     c.           Communications                    and       records            concerning           the

manufacture,                 design,         marketing,                 sale,            shipment,          and      transfer            of

"Buy,       Build,           Shoot"         kits;

                     d.           Communications                    and       records            concerning            federal,

state,       and          local      firearms              laws        and      regulations;

                     e.           Communications                    and       records            concerning            "Buy Build

Shoot"       kits,           or    any      other          similar            grouping            of     components               that

can      be readily               assembled               into      a firearm;

                     f.           Communications                    and       records            of payments            for        and

shipments            of      "Buy Build              Shoot"            kits         or any        other       similar

grouping        of         components               that         can    be readily                assembled            into        a

firearm;

                     g.           Communications                    and       records            concerning            the        sale    or

shipment        of         firearms          and          firearm           components              to     individuals

prohibited                from     possessing                firearms;

                     h.           Communications                    and       records            concerning            the        sale    or

shipment        of         firearms          or      firearm            components                to     individuals               or

locations            outside           of    the          United        States;

                     i.           Records           concerning                the        sale     or     transfer            of

firearms,            including              FFL Acquisition                         and     Disposition              records,            ATF

Form 4473s,                NICS inquiries                    and background                      checks,       and      other

records       required               to     be maintained                     by FFLs;

                     j.           Communications                    and       records            concerning            the        sale    or

transfer        of         firearms          and          firearm           components              to     locations              or

individuals                outside          of      the      United           States;

                     k.           Information                relating               to    the      identity          of the

person(s)            who communicated                        about          matters             discussed           above;

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                     1.        Any digital                    device         which        is       itself          or which

contains         evidence,               contraband,                   fruits,           or     instrumentalities                       of

the   Subject             Offenses,               and     forensic               copies        thereof.

                     m.        With          respect           to      any digital                 device          used        to

facilitate             the     above-listed                    violations                or    containing                 evidence

falling         within         the       scope           of    the       foregoing              categories                of    items        to

be seized:

                               i.            evidence            of who used,                  owned,            or   controlled

the   device           at    the       time        the        things         described                in    this      warrant           were

created,         edited,              or deleted,                such        as       logs,        registry           entries,

configuration                files,           saved           usernames               and passwords,                  documents,

browsing         history,              user        profiles,                e-mail,           e-mail          contacts,              chat

and   instant             messaging               logs,        photographs,                   and correspondence;

                               ii.           evidence            of      the      presence             or     absence           of

software         that        would           allow        others            to    control             the    device,            such        as

viruses,         Trojan             horses,             and    other           forms      of malicious                    software,

as well         as     evidence              of    the        presence            or     absence            of     security

software         designed              to     detect           malicious               software;

                               iii.          evidence            of      the      attachment                of     other        devices;

                               iv.           evidence            of      counter-forensic                        programs            (and

associated             data)          that        are     designed               to    eliminate              data        from       the

device;

                               v.            evidence           of       the      times         the        device         was used;

                               vi.           passwords,               encryption                keys,         and     other          access

devices         that        may be necessary                        to      access        the       device;

                               vii.          applications,                   utility           programs,              compilers,

interpreters,                or       other        software,                as    well        as    documentation                    and

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manuals,           that      may be necessary                          to    access         the        device      or      to

conduct         a forensic              examination                    of    it;

                               viii.                     records            of or        information              about

Internet           Protocol            addresses                used        by the         device;

                               ix.           records            of     or    information                about      the       device's

Internet           activity,            including                firewall               logs,      caches,         browser

history         and       cookies,            "bookmarked"                   or      "favorite"            web pages,

search         terms       that        the        user      entered             into       any       Internet        search

engine,         and       records            of user-typed                   web addresses.

          2.        As used            herein,            the        terms         "records,,.,           "documents,"

"programs,"               "applications,"                       and "materials"                      include       records,

documents,               programs,            applications,                     and materials                  created,

modified,           or     stored            in    any      form,           including             in    digital           form       on

any      digital          device        and        any      forensic               copies         thereof.

          3.        As used            herein,            the        term       "digital           device"         includes               any

electronic               system        or     device            capable            of    storing         or processing

data      in    digital           form,           including             central            processing             units;

desktop,           laptop,           notebook,              and        tablet           computers;           personal

digital         assistants;                 wireless             communication                   devices,          such         as

telephone           paging           devices,             beepers,              mobile          telephones,               and    smart

phones;         digital           cameras;               peripheral                input/output                devices,          such

as     keyboards,            printers,              scanners,                plotters,             monitors,              and    drives

intended           for     removable               media;            related            communications               devices,

such      as modems,              routers,               cables,            and      connections;               storage          media,

such      as    hard       disk        drives,            floppy            disks,         memory        cards,           optical

disks,         and magnetic                 tapes         used         to    store         digital         data         (excluding

analog         tapes       such        as VHS);             and        security            devices.

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II.          SEARCH PROCEDUREFOR HANDLINGPOTENTIALLY PRIVILEGED
             INFORMATION
             4.          The following                    procedures                will        be     followed               at     the        time

of     the        search          in      order      to        avoid         unnecessary                   disclosures                  of      any

privileged                 attorney-client                       communications                       or work            product:

          Non-Digital                     Evidence

             5.          Prior          to      reading          any     document               or     other         piece           of

evidence             ("document")                   in     its        entirety,                law     enforcement                   personnel

conducting                 the         investigation                  and         search        and        other         individuals

assisting                law enforcement                       personnel              in       the     search            (the        "Search

Team")            will      conduct              a limited             review             of    the        document             in      order          to

determine                whether             or not        the        document              appears            to    contain               or

refer         to     communications                       between            an attorney,                    or     to    contain               the

work      product               of      an attorney,                  and         any person               ("potentially

privileged                 information").                        If    a Search                Team member                determines

that         a document                 appears           to     contain            potentially                   privileged

information,                     the      Search          Team member                 will           not     continue              to      review

the     document                and will            immediately                    notify            a member            of     the

"Privilege                 Review            Team"        (previously                 designated                  individual(s)                       not

participating                     in      the     investigation                     of      the       case).             The Search

Team will                not      further           review            any         document            that        appears             to

contain            potentially                   privileged              information                   until         after            the

Privilege                Review          Team has              completed              its         review.

             6.          In consultation                       with      a Privilege                   Review            Team Assistant

United            States          Attorney               ("PRTAUSA"),                 if       appropriate,                   the

Privilege                Review          Team member                  will         then        review          any       document

identified                 as     appearing               to     contain            potentially                   privileged


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information                     to        confirm          that         it         contains             potentially                   privileged

information.                         If      it     does      not,            it        may be returned                        to     the       Search

Team member.                         If      a member             of         the         Privilege              Review          Team confirms

that         a document                    contains           potentially                        privileged                  information,

then         the         member            will       review            only            as much of the                       document              as    is

necessary                 to        determine              whether                 or     not     the        document               is     within           the

scope         of         the      warrant.                 Those         documents                    which         contain              potentially

privileged                     information                 but        are          not     within            the        scope         of     the

warrant             will          be set            aside         and will                 not        be     subject            to       further

review             or     seizure                 absent         subsequent                    authorization.                         Those

documents                 which            contain          potentially                        privileged                   information                 and

are     within                the         scope       of    the        warrant                 will        be      seized           and      sealed

together                 in     an enclosure,                     the         outer            portion             of which              will       be

marked             as containing                      potentially                       privileged                 information.                      The

Privilege                 Review            Team member                  will             also        make         sure        that         the

locations                 where            the      documents                 containing                   potentially                   privileged

information                     were         seized         have         been             documented.

             7.           The seized                  documents                    containing                potentially                    privileged

information                     will        be delivered                      to         the     United            States           Attorney's

Office             for         further             review         by a PRTAUSA.                            If      that        review             reveals

that         a document                    does       not        contain                potentially                 privileged

information,                        or     that       an exception                        to     the       privilege                applies,             the

document                may be returned                          to     the         Search             Team.            If     appropriate

based         on review                    of particular                      documents,                   the         PRTAUSA may apply

to     the         court            for     a finding                 with          respect             to       the        particular

documents                 that            no privilege,                      or     an exception                       to    the      privilege,

applies.

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          Digital           Evidence

          8.         The Search                   Team will               search             for     digital                devices

capable         of being               used        to       facilitate                 the         Subject               Offenses             or

capable         of    containing                   data        falling             within                the        scope         of    the        items

to     be seized.                 The Privilege                     Review             Team will                    then      review             the

identified            digital                devices           as     set         forth        herein.                     The Search                  Team

will      review           only        digital              device          data        which             has        been         released               by

the      Privilege              Review            Team.

          9.         The Privilege                      Review            Team will,                     in     their         discretion,

either         search           the     digital               device(s)                on-site                 or    seize         and

transport            the        device(s)               to     an appropriate                            law        enforcement

laboratory            or        similar            facility               to    be      searched                    at     that        location.

          10.        The Privilege                      Review            Team and                 the         Search         Team shall

complete          both          stages            of    the        search          discussed                    herein            as    soon           as

is     practicable                but        not       to     exceed           180 days                  from        the      date          of

execution            of     the        warrant.                The government                        will            not      search              the

digital         device(s)               beyond              this      180-day             period                without            obtaining

an extension                of        time        order        from         the        Court.

          11.        The Search                   Team will              provide              the         Privilege                Review               Team

with      a list           of     "privilege                  key words"                to         search            for      on the

digital         devices,               to     include              specific             words             like           names         of     any

identified            attorneys                   or    law        firms          or    their             email            addresses,                   and

generic         words           such         as    "privileged"                    or        "work            product".                 The

Privilege            Review            Team will               conduct             an initial                       review         of       the         data

on the         digital            devices              using        the        privilege                  key words,                   and by

using       search          protocols                  specifically                    chosen             to        identify            documents

or data         containing                   potentially                 privileged                      information.                       The

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Privilege                  Review            Team may subject                            to     this           initial           review          all         of

the      data             contained                in    each          digital            device               capable           of     containing

any      of         the     items            to        be seized.                  Documents                   or data           that          are

identified                  by this                initial             review            as not             potentially                 privileged

may be given                      to        the        Search          Team.

              12.          Documents                   or data            that          the     initial               review           identifies

as potentially                         privileged                    will        be reviewed                    by a Privilege                        Review

Team member                      to    confirm                that        they          contain             potentially                 privileged

information.                          Documents                or data             that         are         determined                 by this

review              not     to        be potentially                        privileged                    may be given                   to     the

Search              Team.             Documents                or data             that         are         determined                 by this

review              to     be potentially                        privileged                    will         be given              to     the         United

States           Attorney's                       Office         for        further             review             by a PRTAUSA.

Documents                  or data                identified                by the             PRTAUSA after                      review             as not

potentially                   privileged                     may be given                      to     the       Search           Team.               If,

after          review,                the         PRTAUSA determines                            it        to    be appropriate,                            the

PRTAUSA may apply                                 to    the      court            for         a finding              with         respect             to

particular                  documents                   or data             that         no privilege,                      or     an exception

to      the      privilege,                       applies.                Documents                  or     data         that      are         the

subject              of     such            a finding                may be given                     to       the       Search          Team.

Documents                  or data                identified                by the             PRTAUSA after                      review             as

privileged                  will          be maintained                      under             seal         by the          investigating

agency           without               further                review         absent             subsequent                  authorization.

              13.          The Search                   Team will                 search             only       the        documents                 and

data          that         the        Privilege                Review             Team provides                       to    the        Search              Team

at      any         step         listed            above         in       order          to     locate             documents              and         data

that          are        within             the        scope         of     the         search            warrant.                The Search

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Team does             not     have         to     wait          until            the      entire             privilege             review            is

concluded             to     begin         its         review           for       documents                  and data             within         the

scope      of     the        search           warrant.                  The Privilege                        Review            Team may also

conduct         the        search          for         documents                 and      data           within          the      scope         of

the     search         warrant             if     that          is    more             efficient.

          14.         In performing                     the      reviews,                 both             the     Privilege             Review

Team and          the        Search           Team may:

                      a.           search         for          and      attempt               to     recover             deleted,

"hidden,"             or     encrypted                 data;

                      b.           use     tools          to     exclude                normal              operating             system

files      and        standard             third-party                     software                 that          do not        need       to    be

searched;             and

                      c.           use     forensic              examination                        and          searching         tools,

such      as    "Encase"             and         "FTK"          (Forensic                 Tool           Kit),          which      tools         may

use     hashing            and      other         sophisticated                         techniques.

          15.         Neither            the      Privilege                   Review           Team nor                 the     Search          Team

will      seize         contraband                or evidence                     relating                  to     other        crimes

outside         the        scope         of      the      items            to     be      seized             without            first

obtaining             a further               warrant            to        search             for          and     seize        such

contraband              or    evidence.

          16.         If     the     search             determines                     that         a digital                 device       does

not     contain            any      data         falling             within             the         list          of    items       to    be

seized,         the        government                  will,         as       soon        as        is      practicable,                 return

the     device          and delete                or      destroy                all      forensic                 copies         thereof.

          17.         If     the     search             determines                     that         a digital                 device       does

contain         data         falling             within          the          list        of        items          to    be     seized,           the



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government                may make                 and    retain              copies          of       such        data,             and may

access         such           data        at       any    time.

          18.            If    the        search          determines                  that         a digital                   device          is         (1)

itself         an item               to      be seized              and/or             (2)       contains                data         falling

within         the         list         of     other         items            to    be seized,                    the      government                     may

retain         the        digital              device          and           any     forensic                copies            of     the      digital

device,            but        may not              access          data        falling             outside               the         scope         of         the

other         items           to     be       seized          (after           the        time         for        searching                 the

device         has         expired)                absent          further             court           order.

             19.         The government                      may also                retain            a digital                   device           if        the

government,                   prior          to     the      end         of    the        search             period,               obtains               an

order         from         the       Court          authorizing                    retention                 of     the        device             (or

while         an application                        for      such            an order            is     pending),                    including                 in

circumstances                      where           the    government                   has       not         been         able        to      fully

search          a device                because           the       device             or     files           contained                  therein

is/are          encrypted.

             20.         After          the        completion                 of     the      search              of      the        digital

devices,             the          government                shall            not     access            digital                data       falling

outside            the        scope           of    the      items            to     be     seized            absent               further               order

of     the      Court.

             21.         The review                 of      the         electronic               data         obtained                pursuant                  to

this      warrant              may be conducted                              by any         government                    personnel

assisting                in       the     investigation,                       who may include,                               in     addition                 to

law      enforcement                    officers             and         agents,            attorneys                   for        the

government,                   attorney              support              staff,            and        technical                 experts.

Pursuant             to       this        warrant,                the        investigating                    agency               may deliver                      a

complete             copy          of     the       seized              or    copied          electronic                      data       to       the

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custody           and       control           of     attorneys                 for         the      government                  and     their

support            staff        for     their          independent                    review.

           22.        In order              to      search         for     data             capable             of being              read        or

interpreted                 by a digital                  device,              law         enforcement                personnel                 are

authorized                 to   seize         the      following                items:

                      a.         Any digital                 device             capable               of being              used        to

commit,            further,           or      store         evidence                 of     the       Subject            Offenses

listed           above;

                      b.         Any equipment                     used         to         facilitate                the

transmission,                   creation,             display,                 encoding,                  or    storage            of digital

data;

                      c.         Any magnetic,                     electronic,                      or     optical              storage

device           capable         of     storing             digital             data;

                      d.         Any documentation,                             operating                  logs,           or    reference

manuals           regarding             the         operation             of         the         digital            device         or

software            used        in    the        digital           device;

                      e.         Any applications,                         utility                  programs,               compilers,

interpreters,                   or    other          software             used             to     facilitate                direct           or

indirect            communication                    with        the      digital                 device;

                      f.         Any physical                    keys,          encryption                     devices,            dongles,

or     similar          physical              items         that         are         necessary                 to    gain        access           to

the      digital            device          or     data      stored             on the              digital           device;             and

                      g.         Any passwords,                     password                     files,         biometric               keys,

test       keys,           encryption               codes,         or     other             information                    necessary              to

access        the          digital         device           or     data         stored              on the           digital            device.

           23.        The special                  procedures                  relating               to       digital           devices

found       in      this        warrant            govern          only         the         search             of    digital            devices

                                                                         xv
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pursuant        to    the   authority        conferred        by this   warrant    and    do not

apply      to   any    search     of    digital     devices      pursuant    to   any    other

court      order.




                                                    xvi
